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                               UNITED STATES DISTRICT COURT
                                      District of New Jersey


  CHAM BERS OF                                                                 M A R T IN L U T H E R K IN G JR .
 JOSE L. LINARES                                                     F E D E R A L B U IL D IN G & U .S. C O U R T H O U SE
     JU D G E                                                                  50 W A L N U T ST ., R O O M 5054
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                                                                                   N ewark, N J 07101-0999
                                                                                          973-645-6042

    NOT FOR PUBLICATION

                                        LETTER-ORDER



                                                                                    March 4, 2011

                                                      Mark Coyne
 Gerald M. Saluti
                                                      Office of the U.S. Attorney
 Saluti & Strazza
                                                      970 Broad Street
 60 Park Place, 2nd Floor
                                                      Suite 700
 Suite 208
                                                      Newark, NJ 07102
 Newark, NJ 07102


                       Re:     United States v. Carti, et. al.
                               Criminal Action No.: 2:08-cr-561 (JLL)

Dear Counsel:

        In reviewing Defendant Mir's file in preparation for sentencing, which is presently
scheduled for March 17, 2011 at 11:00 a.m., the Court notes that Defendant filed a Rule 29
motion on December 22, 2009 that has never been briefed. Upon reviewing the trial transcripts,
the Court also notes that Defendant made a Rule 29 motion at trial on which this Court has
already ruled. At the time, Defendant did not move for a judgment of acquittal as to Counts 1
and 6 as he seems to have conceded that there was enough evidence to send this matter to the
jury. In light of this Court’s findings when ruling on the Rule 29 motion at trial, and for the same
reasons stated therein, this Court denies the instant Rule 29 motion as moot.

       If you disagree with this decision or would like to discuss it further, please contact
opposing counsel and arrange to have a conference with chambers.

                                                               Sincerely,


                                                               /s/ Jose L. Linares
                                                               Jose L. Linares,
                                                               United States District Judge
